446 F.2d 890
    UNITED STATES of America, Plaintiff-Appellee,v.George Steven TRABER, Defendant-Appellant.Nos. 71-1462-71-1939 Summary Calendar.**Rule 18, 5th Cir.; See Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    Sept. 1, 1971.
    
      Milton E. Grusmark, Miami Beach, Fla., for defendant-appellant.
      Robert W. Rust, U.S. Atty., Miami, Fla., Richard A. Hauser, Asst. U.S. Atty., Miami, Fla., for plaintiff-appellee.
      Appeal from the United States District Court for the Southern District of Florida; Ted Cabot, Judge.
      Before BELL, AINSWORTH and GODBOLD, Circuit Judges.
      PER CURIAM:
    
    Affirmed.  See Local Rule 21.1
    
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    